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                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ, ASHTON DENNIS, on
    behalf of themselves and all other similarly
    situated,

                    Plaintiff,

    v.

    BOARD OF COUNTY COMMISSIONERS
    OF THE COUNTY OF TULSA, et al.,

                     Defendants.                        Case No. 18-CV-0298-CVE-JFJ



         PLAINTIFF’S MOTION TO EXTEND TIME TO RESPOND TO DEFENDANTS’
                              MOTIONS TO DISMISS

           Pursuant to Local Rule 7.2(g), Plaintiff moves for a two-week extension of the time to

   respond to Defendants’ four motions to dismiss the Second Amended Complaint that were filed by

   Defendants on March 31, 2021. This is the first request for an extension. Defendants do not object

   on condition that they be given an extension to file their reply briefs. In support of this motion,

   Plaintiff states the following:

           1.      On March 31, 2021, Defendants filed four motions to dismiss Plaintiffs’ Second

   Amended Complaint, ECF Nos. 269, 270, 272, 273, 275, 277. Plaintiffs’ deadline to respond to is

   currently April 21, 2021.

           2.      Plaintiffs request a two-week extension until May 5, 2021. The additional time to

   respond will allow Plaintiffs time to respond to all four briefs.

           3.      Defendants have indicated that they do not object to the extension but request that

   their deadline to reply be extended by three weeks, from May 5, 2021 until May 26, 2021.
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          4.      No scheduling order is presently in place for the remainder of the case. Therefore,

   extending the briefing scheduling will not affect any other outstanding deadlines in the case.

          5.      On April 14, 2021, the parties submitted proposed scheduling orders to the Court by

   email for all outstanding deadlines; notices reflecting the parties’ submissions were filed on the

   docket on April 15 and 16, respectively. ECF Nos. 279, 283. A request for an extension of briefing

   deadlines was reflected in both Plaintiffs’ and Judicial Defendants’ submissions. However, given

   the impending schedule for opposition briefs, Plaintiff reiterates the request by motion.

          6.      Plaintiff respectfully requests that the Court enter the attached order, imposing the

   deadlines set forth above.


    Date April 20, 2021

                                                         /s/ Hayley Horowitz
                                                         Hayley Horowitz
                                                         STILL SHE RISES, INC.
                                                         567 E. 36th Street North
                                                         Tulsa, OK 74106
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 20th day of April 2021, I electronically transmitted the

   foregoing document to the Clerk of Court using the ECF System for filing. I further certify that a

   true and correct copy of the foregoing document was sent via the Court’s ECF System to all

   registered parties.

                                                                 /s/ Hayley Horowitz
                                                                 Hayley Horowitz




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